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                       IN THE UNITED STATES DISTRICT COURT
                    FOR THE NORTHERN DISTRICT OF WEST VIRGINIA
                                      Wheeling


  DIANA MEY,

                       Plaintiff,

               v.                               CIVIL ACTION NO. 5:19-CV-185
                                                Judge Bailey


 CASTLE LAW GROUP, PC, a
 Tennessee Corporation, JUDSON
 PHILLIPS, Esq., an individual,
 CASTLE VENTURE GROUP, LLC,
 a Tennessee limited liability company,
 CASTLE EQUITY GROUP,
 INC., a Tennessee Corporation,
 CASTLE PARTNERS INC., a
 Tennessee Corporation, CASTLE
 MARKETING GROUP, LLC, a
 Tennessee limited liability company,
 TRISTAR CONSUMER GROUP, a
 Tennessee Corporation, MUSIC
 CITY VENTURES, INC., a
 Tennessee Corporation, TRISTAR
 CONSUMER LAW, a Tennessee
 Corporation, TRISTAR CONSUMER
 LAW ORGANIZATION, a Tennesee
 Corporation, AMERICAN CONSUMER
 RIGHTS ORGANIZATION, a
 Tennessee Corporation, ADVOCUS
 LEGAL, INC., a Tennessee corporation,
 TRISTAR CONSUMER LAW
 FOUNDATION, a Tennessee Corporation,
 CAPITAL COMPLIANCE GROUP, CO.,
 a Tennessee Corporation, CAPITAL
 COMPLIANCE GROUP, INC., a
 Tennessee Corporation, CAPITAL
 RECOVERY LAW, PC, a Tennessee
 Corporation, ADVOCUS LEGAL
 ORGANIZATION, a Tennessee
 Corporation, US CONSUMER
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  ADVOCATES, a Tennessee Corporation,
  THACKER AND ASSOCIATES
  INTERNATIONAL, LLC, a foreign
  limited liability company, BRUYETTE
  AND ASSOCIATES, LLC, a Florida
  Corporation, SEAN AUSTIN, an
  individual, WILLIAM MICHAEL
  KEEVER, an individual, ASHLEY R.
  KEEVER, an individual, STEVE
  HUFFMAN, an individual, JOHN
  PRESTON THOMPSON, an individual,
  JOHN DOES 1-10, corporate entities
  and individuals presently unknown,

                      Defendants.


           MEMORANDUM OPINION AND ORDER GRANTING PLAINTIFF’S
                   MOTION TO DISMISS COUNTERCLAIMS

        Currently pending before this Court is plaintiff’s Status Report [Doc. 127], which

  includes a Motion to Dismiss Without Prejudice defendants who have not been served.

  For good cause shown, the Motion [Doc. 127] is hereby GRANTED.                  Accordingly,

  defendants Tristar Consumer Law, PC; Tristar Consumer Law Organization; Tristar

  Consumer Law Foundation; American Consumer Rights Organization; Advocus Legal, Inc.;

  Castle Marketing Group, LLC; Capital Compliance Group, Inc.; and Capital Recovery Law

  are all hereby DISMISSED WITHOUT PREJUDICE.

        It is so ORDERED.

        The Clerk is directed to transmit copies of this Order to all counsel of record herein.

        DATED: November 4, 2020.



                                                   %SBAILEY
                                                   UNITED STATES DISTRICT JUDGE

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